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EXHIBIT A
Case: 3:22-cv-50006 Document #: 1-1 Filed: 01/06/22 Page 2 of 26 PagelD #:23

Pursuant to the electronic signature authorization | provided for this loan, and after clarifying my application information which is
being updated based on additional information | provided, in the disclosures and previously stated loan terms, | agree to the
modification belowabove and authorize the use of my electronic signature authorization as my signature, acceptance and
consent to the modification of the terms as expressed below/above in connection with the consummation of the loan.

Application Agreement
d

Borrower's Name: Loan #:
Lauren Combs

IMPORTANT INFORMATION ABOUT PROCEDURES FOR OPENING A NEW ACCOUNT: To help the US government fight the
funding of terrorism and money laundering activities, the Bank Secrecy Act requires all financial institutions to obtain, verify,
and record information that identifies each person who opens an account.

What this means for you: When you open an account, we will ask for your name, address, date of birth, and other information
that will allow us to identify you. We may also ask for a copy of your driver's license or other identifying documents.

The information in no way will be used in making the credit decision on your completed application.

Notice: This Loan is not designed as a solution to long-term financial problems and should not be used as such. Customers
with credit difficulties should seek credit counseling or meet with a nonprofit financial counseling service in their community.

BANKRUPTCY: You certify to us, by executing this document, that you are not a debtor in any bankruptcy proceeding and
have no intention to file a petition for relief under any chapter of the United States Bankruptcy Cade.

GOVERNING LAW: The laws of the Mandan, Hidatsa, and Arikara Nation, also known as the Three Affiliated Tribes of the Fort
Berthold Reservation ("the Tribe"), govern this Loan Agreement, without regard to the laws of any state or other jurisdiction,
including the conflict of laws rules of any state, You agree to be bound by Tribal law, and in the event of a bona fide dispute
between you and us, Tribal law shall exclusively apply to such dispute. You and we agree that any controversies that may arise
hereunder shall be resolved exclusively by Arbitration,

AGREEMENT TO ARBITRATE ALL DISPUTES: Arbitration is a means for legal matters between two parties to be resolved by a
neutral arbitrator rather than a court. All claims, demands, disputes or controversies between you and MaxLend (its employees,
officers, directors, members, agents or assigns), including disputes regarding the scope and validity of this Arbitration clause,
and any MaxLend product or service, shall be subject to Arbitration as provided herein. If your application is approved and you
enter into a Loan Agreement with us, this Arbitration Clause is incorporated into the Loan Agreement and made part thereof.
You agree that YOU ARE WAIVING YOUR RIGHT TO HAVE A TRIAL BY JURY. This Arbitration Agreement shall apply to all
claims, whether under common law or pursuant to federal, state, Tribal or local statute, regulation or ordinance, or for claims of
fraud, misrepresentation or for collection of the loan, and you specifically waive your right to bring, join or participate in any
class action lawsuit. All Arbitration claims shall be resolved by binding individual (not joint or class) arbitration by and finally
settled under the rules of the arbitration organization of your choice: American Arbitration Association (1-800-778-7879)
www.adr.ora; JAMS (1-800-353-5367) www.jamsadr.com; or an arbitration organization agreed upon by you and the other
parties to the dispute. This agreement to arbitrate all disputes shall apply no matter by whom or against whom the claim is filed.

NOTICE: YOU AND WE HAVE AGREED THERE WILL BE NO RIGHT OR OPPORTUNITY TO LITIGATE DISPUTES THROUGH
A COURT AND HAVE A JUDGE OR JURY DECIDE THE DISPUTES BUT HAVE AGREED INSTEAD TO RESOLVE DISPUTES
THROUGH BINDING ARBITRATION.

AGREEMENT NOT TO BRING, JOIN OR PARTICIPATE IN CLASS ACTIONS: To the extent permitted by law, you agree that
you will not bring, join or participate in any class action as to any claim, dispute or controversy you may have against us, our
employees, officers, directors, servicer agents and assigns. You agree to the entry of injunctive relief to stop such a lawsuit or
to remove you as a participant in the suit. You agree to pay the attorney's fees and court costs we incur in seeking such relief.
This agreement does not constitute a waiver of any of your rights and remedies to pursue a claim individually and not as a
class action pursuant to the Arbitration Provision as provided above.

EQUAL CREDIT OPPORTUNITY ACT (ECOA) NOTICE:

Notice: The federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis of
race, color, religion, national origin, sex, marital status, age (provided the applicant has the capacity to enter into a binding
contract); because all or part of the applicant's income derives from any public assistance program; or because the applicant
has in good faith exercised any right under the Consumer Credit Protection Act. The federal agency that administers

compliance with this law concerning this creditor is the Federal Trade Commission, Equal Credit Opportunity, Washington, D.C.
20580.

CONSENT TO ELECTRONIC COMMUNICATIONS:
Please read this information carefully and print a copy and retain this information electronically for future reference.

You must consent to transact business wth Makes Cents, Inc. d/b/a MaxLend through electronic communications in order for
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us to process your loan request. The following terms and conditions govern electronic communications in connection with your
loan request and other current or future transactions wth Makes Cents, Inc. d/b/a MaxLend (this "Consent”). By acknowedging
and accepting this Consent, you agree that any notices we are required to make to you may be delivered to you electronically.
You agree to electronically sign any documents requiring a signature. You acknowedge and agree to the following terms and
conditions of this Consent.

You agree that:

e Any disclosure, notice, record or other type of information that is provided to you in connection with your transaction with
us, including but not limited to, your Loan Agreement, this Consent, the Loan Application, the Truth in Lending
disclosures set forth in the Loan Agreement, our Privacy Notice, any change-in-term notices, fee and transaction
information, statements, disbursement notices, notices of adverse action, legally mandated brochures and disclosures,
and transaction information ("Communications"), may be sent to you electronically by posting the information at our web
site www.maxiend.com, or by sending it to you by secure e-mail.

« We will not be obligated to provide any Communication to you in paper form unless you specifically request us to do so.
You may obtain a copy of any Communication by contacting us at info@maxlend.com or by calling us at (877) 936 -
4336. We will provide you with paper copies at no charge. You can also withdraw your consent to ongoing electronic
communications in the same manner, and ask that they be sent to you in paper or non-electronic form, If you decide to
withdraw your Consent, the legal effectiveness, validity, and enforceability of prior electronic disclosures will not be
affected.

« You must provide us with your current e-mail address for receipt of Communications. If your e-mail address, telephone
number(s), or residence address changes, you must send us a notice of the new e-mail address/telephone number(s) by
writing to us or sending us an e-mail, using secure messaging, at least five (5) days before the change to
info@maxlend.com.

e If you use a spam filter that blocks or re-routes emails from senders not listed in your email address book, you must add
MaxLend to your email address book so that you will be able to receive the Communications we send to you.

e In order to receive electronic Communications, you will need a working connection to the Internet. Your browser must
support the Secure Sockets Layer (SSL) protocol. SSL provides a secure channel to send and receive data over the
Internet through HS encryption capabilities. Most current Internet browsers (Chrome, Firefox, Internet Explorer, etc.)
support this feature. You will also need a printer connected to your computer to print disclosures/notices or have
sufficient hard drive space available to save the information (e.g., 1 MB or greater). We do not provide ISP services. You
must have your own Internet Service Provider. You may submit questions regarding hardware and software requirements
to info@maxlend.com.

e¢ We may amend (add to, delete or change) the terms of this Consent by providing you with advance notice.

e You are able to view and/or electronically store the information presented at the website ww.maxlend.com. You also
agree to print and retain a copy of this Consent for your records.

You are free to withdraw your Consent at any time and at no charge. f at any time you wish to withdraw your Consent, you can
send us your written request by mail to P.O. Box 639 , Parshall, ND 58770 with the details of such request. If you decide to
withdraw your Consent, the legal effectiveness, validity, and enforceability of prior electronic Disclosures will not be affected.

TELEPHONE CONSUMER PROTECTION ACT DISCLOSURE: You agree to be contacted by MaxLend, or our affiliates, at any
of the phone numbers you provided in your Loan Application and any other phone numbers you provide directly to us for the
purposes of servicing any account you have with us. You agree that such contact may include phone calls generated from
an automated telephone dialing system or calls made using an artificial or prerecorded voice. If you agreed to be contacted by
text message from MaxLend for the purpose of servicing any account you have with us, you agree that such contact includes
text messages generated from an automatic telephone dialing system. See the SMS Statement Notifications Disclosure section
for more details. You agree that any consent provided under this paragraph continues to apply for any accounts you have with
MaxLend unless and until you revoke this consent.

lf you agreed to be contacted by MaxLend or our affiliates, at the phone numbers you provided in your Loan Application for
marketing purposes, you agree that such contact may include phone calls and text messages generated from an automated
telephone dialing system or calls made using an artificial or prerecorded voice. You are not required to authorize marketing
calls or text messages to obtain credit or other services from us. If you do not wish to receive sales or marketing calls or text
messages fram us, you should not check the "yes" box for contact preferences. You understand that any messages we send
you may be accessed by anyone with access to your text messages. You also understand that your mobile phone service
provider may charge you fees for text messages that we send you, and you agree that we shall have no liability for the cost of
any such text messages. You agree that any consent provided under this paragraph continues to apply unless and until you
revoke this consent. See the SMS Statement Notifications Disclosure section for more details.

MAXLEND SMS STATEMENT NOTIFICATIONS DISCLOSURE: This SMS Statement Notifications Disclosure (this "Disclosure")
applies to each account you have with MaxLend for which you have elected to receive Short Message Service ("SMS")
messages.

As used in this SMS Statement Notifications Disclosure, "SMS Statement Notifications" means any SMS (text message)
communications from MaxLend to you, sent to the phone number(s) designated by you or as listed on your application,
including but not limited to payment information, account information, due dates, delinquent accounts, program updates,
promotions, coupons and other marketing messages. These messages will originate from 91505, 1-855-997-6613, 1-855-997-
7525, 1-855-929-0646, 1-855-997-6718, 1-855-982-1359, 1-855-981-7276, 1-855-981-9422, 1-855-980-5715, 1-855-997-
6709, or 1-855-997-6930.

How to Unsubscribe: You may withdraw your consent to receive SMS Statement Notifications by changing your account
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preferences after logging in at www.maxlend.com. Alternatively, you may call us at (877) 936 - 4336. At our option, we may
treat your provision of an invalid mobile phone number, or the subsequent malfunction of a previously valid mobile phone
number, as a withdrawal of your consent to receive SMS Statement Notifications. We will not impose any fee to process the
withdrawal of your consent to receive SMS Statement Notifications. Any withdrawal of your consent to use SMS Statement
Notifications will be effective only after we have a reasonable period of time to process your withdrawal. Neither your carrier or
MaxLend is liable for delayed or undelivered messages.

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10.

You may also opt-out and remove your SMS approval for additional messages by sending "STOP", "END", "CANCEL",
"UNSUBSCRIBE", "REMOVE", “QUIT", or "STOPALL" to the SMS text message you have received. If you remove your
SMS approval from our database, your number will no longer be used for secondary purposes, disclosed to third parties
and used by us for third parties to send promotional correspondence to you.

. To apply for our product, use any or our (or our servicers' or agents’) services (including but not limited to receiving any

SMS Statement Notifications), or our website, you must be at least eighteen (18) years of age.

. To request additional information, contact us by telephone at (877) 936 - 4336. For help of additional information

regarding our texting services email us at info@maxiend.com or reply “HELP” anytime from your mobile device to the
message you receive.

. The services are available on the following carriers: AT&T, Verizon Wireless, T-Mobile, Sprint, Nextel, Dobson, U.S.

Cellular, and Virgin Mobile. Additional carriers are added as they become available.

. In order to access, view, and retain SMS Statement Notifications that we make available to you, you must have: (1) an

SMS-capable mobile phone, (2) an active mobile phone account with a communication service provider; and (3) sufficient
storage capacity on your mobile phone.

. All SMS Statement Notifications in electronic format from us to you will be considered “in writing.”

There is no service fee for SMS Statement Notifications but you are responsible for any and all charges, including but
not limited to fees associated with text messaging, imposed by your communications service provider. Other charges may
apply. Such charges may include those from your communications service provider. Please consult your mobile service
carrier's pricing plan to determine the charges for sending and receiving text messages. These charges will appear on
your phone bill.

. Additionally, you agree that we may send any SMS Statement Notifications through your communication service provider

in order to deliver them to you and that your communication services provider is acting as your agent in this capacity.
You further acknowedge and agree that we (or our servicers or agents) will use a third-party platform provider to deliver
such SMS Statement Notifications and that such third-party platform provider is acting as our (or our servicers or agents)
in this capacity. You agree to provide a valid mobile phone number for these services that belongs to you and not
someone else so that we may send you certain information about your loan and to provide us with notice as set forth
above if you are no longer the primary user of the number provided. Additionally, you agree to indemnify, defend and
hold us harmless from and against any and all claims, losses, liability, cost and expenses (including reasonable
attorneys’ fees) arising from your provision of a mobile phone number that is not your own or your violation of applicable
federal, state, Tribal or local law, regulation or ordinance. Your obligation under this paragraph shall survive termination
of this Agreement. SMS Statement Notifications are provided for your convenience only. Receipt of each SMS Statement
may be delayed or impacted by factor(s) pertaining to your communications service provider(s). We will not be liable for
losses or damages arising from any disclosure of account information to third parties, non-delivery, delayed delivery,
misdirected delivery or mishandling of, or inaccurate content in, the SMS Statement Notifications sent by us.

. We may modify or terminate SMS from time to time, for any reason, and without notice, including the right to terminate

text messaging with or without notice, without liability to you, any other user or a third party. We reserve the right to
modify these Terms of Use from time to time without notice. Please review these Terms of Use from time to time so that
you are timely notified of any changes.

IF you are opting into SMS messaging through your account preferences page:

1. You agree that we will not be obligated to provide any communication to you in paper form unless you specifically
request us to do so. You may obtain a copy of any communication by contacting us at info@maxlend.com or by
calling us at (877) 936 - 4336. We will provide you with paper copies at no charge.

2. If your e-mail address, telephone number(s), or residence address changes, you must send us a notice of the new
e-mail address/telephone number(s) by writing to us or sending us an e-mail, using secure messaging, at least five

(5) days before the change to info@maxlend.com.

CONSUMER REPORTS: You authorize us to obtain consumer reports about you prior to approving this Application and at any
time that you owe us money under any Loan Agreement. We may report information about your account to credit bureaus. Late
payments, missed payments, or other defaults on your account may be reflected in your credit report.

BY CHECKING THE ACKNOWLEDGEMENT AND CONSENT, YOU ARE AFFIXING YOUR ELECTRONIC SIGNATURE AND
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SIGNIFYING THAT (1) YOU AGREE TO BE BOUND BY ALL THE TERMS OF THIS APPLICATION; (2) YOUR SYSTEM
MEETS THE REQUIREMENTS SET FORTH ABOVE; (3) YOU AGREE TO RECEIVE ALL COMMUNICATIONS
ELECTRONICALLY; AND (4) YOU ARE ABLE TO ACCESS AND PRINT OR ELECTRONICALLY STORE INFORMATION
PRESENTED AT THIS WEBSITE. PLEASE TAKE NOTICE THAT IF YOU ARE APPROVED FOR ALOAN BY MAKES CENTS,
INC. D/B/A MAXLEND, SUCH LOAN WILL BE MADE IN RELIANCE OF EACH AND EVERY TERM OF ALOAN AGREEMENT
AND DISCLOSURE TO WHICH YOUR ELECTRONIC SIGNATURE IS AFFIXED.

BORROWER AGREES TO ALL OF THE TERMS OF THIS APPLICATION. By checking the acknowledgement below you are (i)
supplying your electronic signature to certify that all of the information provided above is true, complete and correct and
provided to us, MaxLend, for the purpose of applying for a Loan, (ii) agreeing to the Agreement to Tribal Dispute Resolution
Procedures and the Agreement Not To Bring, Join Or Participate in Class Actions and acknowedge receiving a fully completed
copy of this Application. You acknowledge and agree that this Application will be deemed incomplete and will not be
processed by us without your Acknowledgement of Consent.

Upon receipt of your duly electronically executed disclosure, application and loan agreement package with all
required signatures, consents, acknowledgments and elected options, a representative will call you within
minutes during business hours to complete your application.

MI Agree, Acknowledge and Consent

Lauren Combs

Consumer Installment Loan Agreement
Makes Cents, Inc. d/b/a MaxLend

 

CONSENT TO ELECTRONIC COMMUNICATIONS:
Please read this information carefully and print a copy and retain this information electronically for future reference.

You must consent to transact business wth Makes Cents, Inc. d/b/a MaxLend through electronic communications in order
for us to process your loan request. The following terms and conditions govern electronic communications in connection with
your loan request and other current or future transactions with Makes Cents, Inc. d/b/a MaxLend (this "Consent"). By
electronically signing this Consent, you agree that any notices we are required to make to you may be delivered to you
electronically. You agree to electronically sign any documents requiring a signature. You acknowedge and agree to the
following terms and conditions of this Consent.

You agree that:

¢ Any disclosure, notice, record or other type of information that is provided to you in connection with your transaction with
us, including but not limited to, your Loan Agreement, this Consent, the Loan Application, the Truth in Lending
disclosures set forth in the Loan Agreement, our Privacy Notice, any change-in-term notices, fee and transaction
information, statements, disbursement notices, notices of adverse action, legally mandated brochures and disclosures,
and transaction information ("Communications"), may be sent to you electronically by posting the information at our web
site www.mawend.com, or by sending it to you by secure e-mail.

* We will not be obligated to provide any Communication to you in paper form unless you specifically request us to do so.
You may obtain a copy of any Communication by contacting us at info@maxlend.com or by calling us at (877) 936 -
4336. We will provide you with paper copies at no charge. You can also withdraw your consent to ongoing electronic
communications in the same manner, and ask that they be sent to you in paper or non-electronic form. If you decide to
withdraw your Consent, the legal effectiveness, validity, and enforceability of prior electronic disclosures will not be
affected.

e« You must provide us wth your current e-mail address for receipt of Communications. If your e-mail address, telephone
number(s), or residence address changes, you must send us a notice of the new e-mail address/telephone number(s) by
writing to us or sending us an e-mail, using secure messaging, at least five (5) days before the change to
info@maxlend.com.

¢ if you use a spam filter that blocks or re-routes emails from senders not listed in your email address book, you must add

MaxLend to your email address book so that you will be able to receive the Communications we send to you.

In order to receive electronic Communications, you will need a working connection to the Internet. Your browser must

support the Secure Sockets Layer (SSL) protocol. SSL provides a secure channel to send and receive data over the

Internet through HS encryption capabilities. Most current internet browsers (Chrome, Firefox, Internet Explorer, etc.)

support this feature. You will also need a printer connected to your computer to print disclosures/notices or have

sufficient hard drive space available to save the information (e.g., 1 MB or greater). We do not provide ISP services. You
must have your own Internet Service Provider. You may submit questions regarding hardware and software requirements
to info@maxlend.com.

e¢ We may amend (add to, delete or change) the terms of this Consent by providing you with advance notice.

You are able to view and/or electronically store the information presented at the website wwv.maxend.com. You also

agree to print and retain a copy of this Consent for your records.

°

You are free to withdraw your Consent at any time and at no charge. If at any time you wish to withdraw your Consent, you can
send us your written request by mail to P.O. Box 639 , Parshall, ND 58770 with the details of such request. If you decide to
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withdraw your Consent, the legal effectiveness, validity, and enforceability of prior electronic Disclosures will not be affected.

| consent to electronic communications W

CONSUMER INSTALLMENT LOAN AGREEMENT

Final Maturity Date:

 

[Application Date 4/10/2021

 

 

Effective Date 4/13/2021 42/23/2021
orrower Name:
uren Combs
MAKES CENTS, INC. d/b/a MaxLend orrower Address:

P.O. Box 639 , Parshall, ND 58770

 

 

 

 

IMPORTANT NOTICE: This Loan Agreement (hereinafter the “Agreement") is governed by the laws of the Mandan,
Hidatsa, and Arikara Nation (also known as the Three Affiliated Tribes of the Fort Berthold Reservation,
hereinafter the “Tribe") govern this Loan Agreement ("Tribal Law") . It contains important terms and conditions.
You should read it carefully before you electronically sign it.

In this Agreement the words "you", “your” and “tI mean the borrower who has electronically signed it. The words "we", “us”, and
“our” mean Makes Cents, Inc. d/b/a MaxLend. We are a tribal limited liability company organized under tribal law. We are an
economic development arm of, instrumentality of, and wholly-owned and controlled by the Mandan, Hidatsa, and Arikara Nation,
a federally-recognized sovereign American Indian tribe (as referenced above, the “Tribe"). We are licensed and regulated by
the "Tribe". CAUTION: The Tribe, as a sovereign government, and we, as an economic arm and instrumentality of the Tribe,
are not subject to suit or service of process. If you are not comfortable doing business wth a sovereign entity and resolving any
dispute exclusively by binding individual arbitration, as set forth below, do not execute this Agreement.

THIS LOAN IS NOT INTENDED TO MEET LONG-TERM FINANCIAL NEEDS, THIS LOAN SHOULD BE USED ONLY TO MEET
SHORT-TERM CASH NEEDS. REPEATED USE OF THIS PRODUCT WILL REQUIRE PAYMENT OF SUBSTANTIAL,
ADDITIONAL FINANCE CHARGES.

PLEASE NOTE: If you prepay this loan in part or in full you may be entitled to a refund of part of the finance charge
meaning you will pay less of a finance charge than listed in the Truth-in-Lending disclosures below.

TRUTH-IN-LENDING DISCLOSURES
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Amount Financed Total of Payments

The amount you will have paid
The amount of credit provided after you have made all
to you or on your behalf. payments as scheduled.

$400.00 $2,039.77

    

 

 

 

 

Your Payment Schedule will be:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Paynant Number
4 $113.32 4/29/2021
2 $113.32 5/13/2021
3 $113.32 5/27/2021
4 $113.32 6/10/2021
5 $113.32 6/24/2021
6 $113.32 7/8/2021
7 $113.32 7/22/2021
8 $113.32 8/5/2021
9 $113.32 8/19/2021
10 $113.32 9/2/2021
11 $113.32 9/16/2021
12 $113.32 9/30/2021
13 $113.32 10/14/2021
14 $113.32 10/28/2021
15 $113.32 11/10/2021
16 $113.32 11/24/2021
17 $113.32 12/9/2021
18 $113.33 12/23/2021

 

 

 

 

Security: This obligation does not create a security interest.

Demand Feature: This obligation has a demand feature in the event of default or breach of this Agreement.

Prepayment: If you pay off early you will not have to pay a penalty and you may be entitled to a refund of part of the finance
charge.

‘See the terms of this Agreement for any additional information about nonpayment, default, any required repayment in full
before the scheduled due date and prepayment refunds.

e) means estimated.

 

 

 

Itemization of Amount Financed : Amount given to you directly:

Amount paid on Loan No. with us: |

APPROVAL AND OBTAINING LOAN PROCEEDS. In order to complete your transaction with us, you must electronically sign
this Agreement. Once you sign and submit this Agreement to us, we will verify your information and either approve or deny the
loan request. If your application is approved, we will use commercially reasonable efforts to initiate an ACH credit entry of the
loan proceeds into the Bank Account listed below on or before the Effective Date above. Therefore, you hereby voluntarily
authorize us, our successors or assigns, to initiate an automatic credit entry to your banking account: Account type:
Checking; Bank routing and transit number: (EEF and Account Number: EEK "Bank Account"). You
agree that we will initiate a credit entry to your Bank Account for an amount consistent with this Agreement on or before the
Effective Date. If you revoke this authorization before we credit the loan proceeds, then we will not be able to deposit the loan
proceeds into your Bank Account. We rely on the representations of you and other parties in determining the Effective Date.
Despite our best efforts, unavoidable delays as a result of bank holidays, the processing schedule of your individual bank,
delays in verification of your information, inadvertent processing errors, "acts of God", and/or “acts of terror" may extend the
time for the deposit.

PROMISE TO PAY. You promise to pay to us the Total of Payments stated above, on the dates set forth in the Payment
Schedule above and other permitted charges. The finance charge under this Agreement is precomputed. The APR disclosed in
the Federal Truth-In-Lending Disclosures is calculated on the assumption that all payments will be made when due and that we
earn the finance charge on the Effective Date. You promise to timely pay us the amount owing hereunder by making installment
payments on the dates listed in the payment schedule set forth above or as modified in accordance with this Agreement ("Due
Date(s)"). You agree to make payments in accordance with your selected payment method or as you and we otherwise agree.
You understand that if this Agreement is modified (i.e. change in due dates, payment amounts, etc.) any payment
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authorizations subject to this Agreement will adjust to the modifications. Time is of the essence. If any Due Date falls on a non-
business day then you agree to pay us on the next business day, and we will credit such payment as if we received it on the
appropriate Due Date.

PREPAYMENT. You may prepay in part or in full at any time, with one business day's notice, and you will not incur an
additional charge, fee, or penalty. To make arrangements for a prepayment you must contact us, at least one business day
prior to the prepayment, by email at info@maxlend.com or phone at (877) 936 - 4336. We will then arrange an authorization to
debit funds from your Bank Account or make other arrangements for the prepayment. In the event of prepayment in full, we will
apply a refund to your account of the pro-rata finance charge based upon when your prepayment is made. The pro-rata refund
of the finance charge will be calculated by dividing the total precomputed finance charge for the current payment period by the
total number of days in the payment period, and then multiplying that number by the number of days remaining in the payment
period from the date of prepayment. if your payment is received on a non-banking day or after the cut-off for a banking
transaction, your payment will be processed on the next banking day. Interest may continue to accrue until your payment is
processed on the next banking day. For information on the amount of any refund associated with a prepayment, please contact
us at (877) 936 - 4336.

RIGHT TO RESCIND: You may rescind this Agreement without cost or further obligation if you do so by 5:00 PM CST on the
next business day following the Disbursement Date, which is the day the loan proceeds are deposited into your bank account
((the “Rescission Deadline"). To rescind this Agreement, you must inform us in writing, by the Rescission Deadline, by either
faxing notice to (855) 558 - 1460 or e-mailing to info@maxend.com that you want to rescind this Agreement. In the event that
we timely receive your written notice of rescission on or before the Rescission Deadline but before the loan proceeds have
been credited to your Bank Account, we will not affect a debit entry to your Bank Account and both our and your obligations
under this Agreement will be rescinded. In the event that we timely receive your written notice of rescission on or before the
Rescission Deadline but after the loan proceeds have been credited to your Bank Account, we will effect a debit to your Bank
Account for the principal amount of your loan. If we receive payment of the principal amount via the debit, ours and your
obligations under this Agreement will be rescinded. If we do not receive payment of the principal amount via the debit, then the
Agreement will remain in full force and effect until all sums due and owing under this Agreement, including finance charges
and/or fees, are repaid in full. NOTE: Rescission of this Agreement does not cancel either party's rights and obligations under
the Tribal Dispute Resolution Procedure and Waiver of Jury Trial paragraphs below.

PAYMENT METHODS: You are required to make the payments for each installment period on or before the payment Due
Dates in your payment schedule and if on the final scheduled payment Due Date you still owe amounts under this Agreement,
you are required to pay those amounts in full on that date. During the application process you were provided an option to make
payments by either automatic electronic debit authorization (ACH or debit card) automatic charges to your credit card or, Check
payment processing. In the event these payment methods are unavailable to you or us, other alternative payment methods as
described in this loan agreement or as we otherwise allow, may be used. Your payments plus any fees due to us (if applicable)
will be automatically initiated by us in accordance with this Agreement and processed by our servicers or agents. PLEASE
NOTE: If we are unable to initiate a payment via ACH, debit card , credit card, or check for any reason, then you authorize us to
initiate your scheduled payments by Remotely Created Check as described below, or as otherwise set forth in this Agreement.
If you would like to make alternative payment arrangements for a particular scheduled payment you must provide notice to
MaxLend via email info@maxlend.com or call (877) 936 - 4336 three (3) business days prior to the due date. Regardless of the
payment method used, a payment must be received by us on or before the scheduled Due Date.

VERIFICATION: You certify that the information given in connection with this Agreement is true and correct. You authorize us to
verify all of the information that you gave us such as any past and/or present employment history, income and bank account
details as may be necessary to process your application for a loan, determine Due Dates, and administer your account with us.
You specifically authorize us to use information you provided us, including your social security number and/or bank account
number, to verify information in your Bank Account through telephone or other electronically initiated bank records initiated by
us and processed by us or our servicers or agents. You also give us consent to obtain information about you from consumer
reporting agencies and/or other sources. You represent that you are not a debtor under any proceeding in bankruptcy and
have no intention to file a petition for relief under any chapter of the United States bankruptcy code. You further represent that
you have not been discharged from bankruptcy within the last 90 days.

ELECTRONIC DEBIT AUTHORIZATION: If you elected to make payments by electronic debit, then you authorize us, and our
successors and assigns, to initiate, and our servicers or agents to process automatic debit entries for payments in accordance
with this Agreement from your Bank Account as identified above in the "Approval and Obtaining Loan Proceeds" paragraph.

You agree that we will initiate debit entries on each scheduled payment Due Date or thereafter for the scheduled amount, or
any lesser amount you owe. You further authorize us to initiate a separate electronic debit entry for any applicable returned
payment fee or other charges in the amounts set forth in your Agreement with us. You authorize us to re-initiate any electronic
debit entry up to two additional times for the same amount if the debit entry is dishonored.

if you have elected electronic debit authorization as your payment selection we will always initiate the electronic debit entry
through the automated clearinghouse (ACH) system unless for some reason we are prohibited from using the ACH system
(other than by your revocation) or you have specifically instructed us to initiate the electronic debit through your debit card. in
those instances we will initiate the electronic debit entry to your Bank Account through your debit card (if provided).

You may revoke this authorization by contacting us in writing at P.O. Box 639 , Parshall, ND 58770 or by phone at (877) 936 -
4336. You must contact us at least three (3) business days prior to when you wish the authorization to terminate and to
arrange for alternative methods of payment. If you revoke the authorization, you authorize us to make your payments by
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remotely created checks as set forth below.

You have the right to receive notice of all transfers varying in amount. You acknowedge that we elected to offer you a specified
range of amounts for the recurring electronic debiting (in lieu of providing the notice of transfers in varying amount). The
amount of any debit will range from (i) the payment amount provided in this Agreement (which may be less than a scheduled
payment if partial prepayments have been made), to {ii} an amount equal to the scheduled payment plus as applicable, any
returned payment charges you may owe under this Agreement. For any recurring electronic debit outside of this specified
range, we will send you a notice. Therefore, by agreeing to the terms of this authorization you choose to receive notice only
when a recurring electronic debit amount exceeds the range specified. You also authorize us to verify all of the information that
you have provided, including past and/or current information. You agree that the debit entries authorized herein are voluntary,
and that certain entries will recur at substantially regular intervals. If there is any missing or erroneous information in or with
your loan application regarding your Bank Account or debit card (if provided), then you authorize us to verify and correct such
information. If any payment cannot be obtained by electronic debit, you remain responsible for such payment and any resulting
fees under the Agreement.

CREDIT CARD AUTHORIZATION: If you elected to make payments by credit card, then you authorize us, and our successors
and assigns, to initiate, and our servicers or agents to process, automatic charges for payments in accordance with this
Agreement from the credit card you have provided to us identified below (your "Card"):

You agree that the charge entries authorized herein are voluntary, and that certain charges will recur at substantially regular
intervals. If there is any missing or erroneous information in or with your loan application regarding your Card, then you
authorize us to verify and correct such information. If any payment cannot be obtained by your Card, you remain responsible
for such payment and any resulting fees under the Agreement. You agree that we will initiate charges to your Card on each
scheduled payment Due Date or thereafter for the scheduled amount, or any lesser amount you owe. You further authorize us
to initiate a separate charge to your Card for any applicable returned payment /fee or other charges in the amounts set forth in
your Agreement. If any payment cannot be obtained by your Card, you remain responsible for such payment and any resulting
fees under the Agreement.

PAYMENT VIA CHECK: If you elected to make payments via check, then you agree to enter into an agreement with our check
processing vendor (Check Vendor) for the preparation and delivery on your behalf of a check or a series of checks for your
payments. You may be required to authorize the Check Vendor or the Lender as your agent to: (a) prepare your payment
checks; (b) place your signature you provide to the Check Vendor via the Check Vendor's website (carrier charges may apply
with use of text function on your mobile device) on the checks; (c) print the checks and; (d) deliver the checks to us or our
successors, assigns, servicers or agents to process these checks through the banking system. You understand that the
Annual Percentage Rate and scheduled payment amounts disclosed in the Federal Truth-in-Lending Disclosure above does
not include any incentive or benefit for your electing to use the Check Vendor's check processing process for your payments.

You agree that: (a) you may be required to authorize Check Vendor or the Lender as your agent to prepare your check, (b)
place your signature that you provide to Check Vendor on your checks, and (c) print and deliver the checks for you on each
scheduled payment Due Date or thereafter for the scheduled amount, or any lesser amount you owe. You further authorize the
Check Vendor or the Lender to prepare and place your signature that you provide to Check Vendor on your checks, print and
deliver checks for any applicable returned payment fee or other charges in the amounts set forth in your Agreement with us.
You understand that checks will be prepared and delivered for payment on each payment Due Date until your loan balance is
paid in full. You understand and agree that the balance in your account must be sufficient to pay the check when presented to
your Bank or financial institution. You authorize us to re-present any of your checks that are dishonored by your Bank or
financial institution for insufficient or uncollected funds. Checks created through Check Vendor are not Remotely Created
Checks as described beiow.

You may revoke this authorization by contacting us in writing at P.O. Box 639 , Parshail, ND 58770, by phone at (877) 936 -
4336, or by e-mail at info@maxiend.com You must contact us at least three (3) days prior to when you wish the authorization to
terminate and to arrange for alternative methods of payment. If you revoke payment via Card authorization or check, you
authorize us to make your payments by Remotely Created Checks as set forth below.

If you select the option to make payments via check, you acknowedge that you will not be eligible for a payment deferral at any
time during the administration of your loan.

REMOTELY CREATED CHECK AUTHORIZATION: If (1) you elected to make payments by either Electronic Debit
Authorization, Card Authorization or via Check Vendor payment processing articulated above, and you subsequently revoke
the authorization, (2) we are unable to process your payments by electronic debit, Card, or checks for any reason, or (3) you
have defaulted on a payment, then by electronically signing this Agreement you authorize us to create checks bearing your
typed name and other information as may be required under applicable law, rather than your handwritten signature, drawn on
your Bank Account ("Remotely Created Check"), and to submit each Remotely Created Check for payment to the Bank or other
financial institution in the amount of each payment owing to us under this Agreement on or after each Due Date. A Remotely
Created Check may also be known as a demand draft, telecheck, preauthorized draft or paper draft. if a Remotely Created
Check is returned unpaid by your Bank or other financial institution, then you authorize us to create and submit a Remotely
Created Check for any returned payment fee, or other amounts accrued pursuant to this Agreement. You agree that your
typed name or other designation mandated by applicable law will constitute your authorized signature fully reflecting your intent
to authenticate any such Remotely Created Check. If you believe we charged your Bank Account in a manner not contemplated
by this authorization, please contact us. You authorize us to vary the amount of any preauthorized payment by Remotely
Created Check as needed to repay amounts owing, as modified by any partial prepayments. This Remotely Created Check
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authorization is effective only if you, originally selected electronic debit or credit card as your payment method and then you
revoke the authorization, we are unable to process your payments by either method for any reason, or you defaulted on a
payment. If you would like to dispute a payment related to a Remotely Created Check, determine whether a payment was
genuine, withhold payment of a Remotely Created Check, or obtain re-crediting of amounts we obtained via a Remotely
Created Check, contact us by calling (877) 936 - 4336.

ELECTRONIC CHECK RE-PRESENTMENT POLICY. In the event a check is returned unpaid for insufficient or uncollected
funds, we may re-present the check electronically. In the ordinary course of business, the check will not be provided to you with
your bank statement, but a copy can be retrieved by contacting your financial institution.

CHECK CONVERSION NOTIFICATION. if we agree to allow you to directly make your payment with your personal check, you
authorize us and our servicers or agents either to use information from your check to make a one-time electronic fund transfer
from your Bank Account or to process multiple payments as check transactions. When we use information from your personal
check to make an electronic funds transfer, funds may be withdrawn from your Bank Account as soon as the same day we
receive your payment, and you will not receive your check back from your financial institution. For questions, please contact us
at (877) 936 - 4336.

RETURNED PAYMENT FEE. You agree we reserve the right to charge you a returned payment fee of $30 if your payment is
returned unpaid (unless the result of a properly revoked authorization). You authorize us and our agents to make a one-time
withdrawal from your Bank Account to collect this returned payment fee. We may only impose this fee once per scheduled
installment payment.

LATE PAYMENT: In the event of two consecutively missed payments, which includes payments missed due to insufficient or
uncollected funds from your Bank Account, or payments missed due to a denials of your Card, the customer provides
authorization to us, our successors and assignees, our servicers and our agents to debit the entire outstanding balance of
principal and interest due, including fees in accordance with this Agreement on the third payment in sequence after the initial
two first payments have been missed.

DEFAULT: You will be in default under this Agreement if: (a) you provide us false or misleading information about yourself, your
financial condition (including the Bank Account), or any other matter prior to entering this Agreement, (b) any scheduled
payment is not received within thirty (30) calendar days of the scheduled payment Due Date, as set forth herein, (c) the debit
for your scheduled payment is returned to us unpaid for any reason and a payment is not received from you within thirty (30)
calendar days immediately following that return payment, (d) you agree to make alternative payment arrangements and fail to
make those payment(s), or (e) any of the following things occur: appointment of a committee, receiver, or other custodian of
any of your property, or the commencement of a case under the U.S, Federal Bankruptcy Laws by or against you as a debtor.

CONSEQUENCES OF DEFAULT: If you are in default, you agree that we may take any of the following actions to the extent
allowed by applicable law. (1) we may accelerate the maturity of the loan and all other amounts due us and demand payment of
the same; (2) we may exercise any of our rights described in the paragraph below entitled "Payment Authorization Upon
Default"; (3) we may exercise any other rights or remedies allowed by this Agreement or at law, including but not limited to
seeking payment of reasonable attorney's fees in the event of a default and referral to an attorney (not our regularly salaried
employee) or to a third party for collections, and (4) we may recover all court, dispute resolution or other collection costs we
actually incur.

DEMAND FEATURE: We may demand payment, at any time, and from time to time, if our ability to collect amounts owed under
this Agreement are materially impaired, in our sole and absolute discretion and whether or not a default has occurred. If we
demand payment, then we will accelerate your obligation under this Agreement and initiate a debit in accordance with the
"Payment Authorization Upon Default or Demand" paragraph below.

PAYMENT AUTHORIZATION UPON DEFAULT: In the event of your default, you separately authorize us, and our successors
and assigns, to initiate through our servicers or agents a one-time automatic debit entry to your Bank Account in the amount of
the entire outstanding balance, including finance charges and any fees, under this Agreement. You agree that we will initiate
the single electronic debit entry only for the outstanding amount owing at the time of acceleration. You authorize us to re-
initiate the debit entry up to two (2) additional times if the debit entry is returned unpaid. You authorize us to verify all of the
information that you have provided to us relating to your Bank Account. if there is any missing or erroneous information in or
with your loan application regarding your Bank Account, then you authorize us to verify and correct such information. You may
revoke this Payment Authorization Upon Default by contacting us in writing at P.O. Box 639 , Parshall, ND 58770 or by phone at
(877) 936 - 4336. You must contact us at least three (3) business days prior to when you wish the termination to take effect.

WAIVER: No failure to exercise, or delay in exercising, any right, power or privilege under this Agreement shall operate as a
waiver thereof, nor shall any single or partial exercise thereof preclude any other or further exercise thereof or the exercise of
any other right, power or privilege.

CONSUMER REPORTS: You authorize us to obtain consumer reports about you in connection with your request for credit, and
at any time that you owe us money under this or any Agreement.

REPORT OF NEGATIVE PAYMENT INFORMATION: We may report information about your account to credit bureaus. Late
payments, missed payments, or other defaults on your loan may be reflected in your credit report.

ASSIGNMENT AND EXECUTION: We may assign or transfer this Agreement or any of our rights hereunder in our sole
discretion. If this Agreement is consummated, then you agree that the electronically signed Agreement we receive from you will
be considered the original executed Agreement, which is binding and enforceable as to both parties.
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GOVERNING LAW AND FORUM: The laws of the Tribe ("Tribal law’) will govern this Loan Agreement, without regard to the
laws of any state, including the conflict of laws rules of any state. You agree to be bound by Tribal law, and in the event of a
bona fide dispute between you and us, Tribal law shall apply to such dispute.

SOVEREIGN IMMUNITY. You are doing business with a Tribal entity that is not subject to suit or service of process. Nor is the
Tribe, nor any other Tribal entity or person, subject to suit or service of process because of sovereign immunity. The Tribe's
government has authorized a limited waiver of only MaxLend's sovereign immunity solely for individual arbitration claims as
provided below, and for no other reason or purpose. All other Tribal immunities and privileges are expressly preserved.

WAIVER OF JURY TRIAL AND ARBITRATION PROVISION: Arbitration is a process in which persons with a dispute: (a) waive
any right to file a lawsuit and proceed in a court and to have a jury trial to resolve the dispute; and (b) agree, instead, to submit
their dispute to a neutral third person (an “arbitrator") for a decision. Each party to the dispute has an opportunity to present
some evidence to the arbitrator. Pre-arbitration discovery may be limited. Arbitration proceedings are private and less formal
than court trials. The arbitrator will issue a final and binding decision resolving the dispute, which may be enforced as a court
judgment. A court rarely overturns an arbitrator's decision. We have a policy of arbitrating all disputes with customers; including
the scope and validity of this Arbitration Provision, and to do so only with customers who are acting in their individual
capacities, and not as representatives of a class.

CHOICE OF ARBITRATOR: Regardless of who demands arbitration, you shall have the right to select any of the following
arbitration organizations to administer the arbitration: the American Arbitration Association (1-800-778-7879) www.adr.org;
JAMS (1-800-353-5367) www.iamsadr.com; or an arbitration organization agreed upon by you and the other parties to the
dispute (as defined below). The arbitration will be governed by the chosen arbitration organization's rules and procedures
applicable to consumer disputes, to the extent that those rules and procedures do not contradict either the law of the Tribe or
the express terms of this Agreement to Arbitrate, including the limitations on the arbitrator.

THEREFORE, YOU ACKNOWLEDGE AND AGREE AS FOLLOWS:

1. For purposes of this Waiver of Jury Trial and Arbitration Provision, the words "dispute" and "disputes" are given the
broadest possible meaning and include, without limitation: (a) all claims, disputes, or controversies arising from or
relating directly or indirectly to the signing of this Arbitration Provision, the validity and scope of this Arbitration Provision
and any claim or attempt to set aside this Arbitration Provision; (b) all federal or state or Tribal lawclaims, disputes or
controversies, arising from or relating directly or indirectly to the Agreement, the information you gave us before entering
into the Agreement, including the customer information application, and/or any past agreement or agreements between
you and us; (c) all counterclaims, cross-claims and third-party claims; (d) all common law claims, based upon contract,
tort, fraud, or other intentional torts; (e) all claims based upon a violation of any Tribal, state or federal constitution,
statute or regulation; (f) all claims asserted by us against you, including claims for money damages to collect any sum we
claim you owe us; (g) all claims asserted by you individually against us and/or any of our employees, agents, directors,
officers, shareholders, governors, managers, members, parent company or affiliated entities ("related third parties"),
including claims for money damages and/or equitable or injunctive relief; (h) all claims asserted on your behalf by
another person; (i) all claims asserted by you as a private attorney general, as a representative and member of a class
of persons, or in any other representative capacity, against us and/or related third parties ("Representative Claims");
and/or (j) all claims arising from or relating directly or indirectly to the disclosure by us or related third parties of any non-
public personal information about You.

2. You acknowedge and agree that by entering into this Waiver of Jury Trial Provision:
A. YOU ARE GIVING UP YOUR RIGHT TO HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE ALLEGED
AGAINST US OR RELATED THIRD PARTIES;

B. YOU ARE GIVING UP YOUR RIGHT TO HAVE A COURT RESOLVE ANY DISPUTE ALLEGED AGAINST US OR
RELATED THIRD PARTIES; and

C. YOU ARE GIVING UP YOUR RIGHT TO SERVE AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY GENERAL,
OR IN ANY OTHER REPRESENTATIVE CAPACITY, AND/OR TO PARTICIPATE AS A MEMBER OF A CLASS OF
CLAIMANTS, IN ANY LAWSUIT FILED AGAINST US AND/OR RELATED THIRD PARTIES.

3. All disputes including any Representative Claims against us and/or related third parties shall be resolved by binding
arbitration only on an individual basis wth you. THEREFORE, THE ARBITRATOR SHALL NOT CONDUCT CLASS
ARBITRATION; THAT IS, THE ARBITRATOR SHALL NOT ALLOW YOU TO SERVE AS A REPRESENTATIVE, AS A
PRIVATE ATTORNEY GENERAL, OR IN ANY OTHER REPRESENTATIVE CAPACITY FOR OTHERS IN THE
ARBITRATION.

4. At your option and in accord with the applicable rules of the arbitration organization you select, arbitration may be
conducted: (i) online; (ii) telephonically; (iii) or in person on the Ft. Berthold Reservation or within 30 miles of your
residence, at your choice, provided that this accommodation for you shall not be construed in any way: (a) as a
relinquishment of waiver of our or the Tribe's sovereign status or immunity, or (b) to allow for the application of any state
law. As an accommodation to you, Lender shall pay all costs associated with any arbitration proceedings.

5. This Waiver of Jury Trial and Arbitration Provision is binding upon and benefits you, your respective heirs, successors
and assigns. This Waiver of Jury Trial and Arbitration Provision is binding upon and benefits us, our successors and
assigns, and related third parties. This Waiver of Jury Trial and Arbitration Provision continues in full force and effect,
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even if your obligations have been paid or discharged through bankruptcy. This Waiver of Jury Trial and Arbitration
Provision survives any rescission, termination, amendment, expiration or performance of any transaction between you
and us and continues in full force and effect unless you and we otherwise agree in writing. If any of this Waiver of Jury
Trial and Arbitration Provision is held invalid, the remainder shall remain in effect. Your right to file suit against us for
any claim or dispute arising from or relating to this Agreement is limited by the WAIVER OF JURY TRIAL AND
ARBRITRATION Provision.

NOTICE: YOU AND WE HAVE AGREED THAT ANY RIGHT OR OPPORTUNITY TO LITIGATE DISPUTES THROUGH A
COURT AND HAVE A JUDGE OR JURY DECIDE THE DISPUTES ARE WAIVED AND HAVE AGREED INSTEAD TO
RESOLVE DISPUTES THROUGH BINDING INDIVIDUAL ARBITRATION.

TELEPHONE CONSUMER PROTECTION ACT DISCLOSURE: You agree to be contacted by MaxLend, or our affiliates, at any
of the phone numbers you provided in your Loan Application and any other phone numbers you provide directly to us for the
purposes of servicing any account you have with us. You agree that such contact may include phone calls generated from
an automated telephone dialing system or calls made using an artificial or prerecorded voice. If you agreed to be contacted by
text message from Maxl.end for the purpose of servicing any account you have with us, you agree that such contact includes
text messages generated from an automatic telephone dialing system. See the SMS Statement Notifications Disclosure section
for more details. You agree that any consent provided under this paragraph continues to apply for any accounts you have with
MaxLend unless and until you revoke this consent.

if you agreed to be contacted by MaxLend or our affiliates, at the phone numbers you provided in your Loan Application for
marketing purposes, you agree that such contact may include phone calls and text messages generated from an automated
telephone dialing system or calls made using an artificial or prerecorded voice. You are not required to authorize marketing
calls or text messages to obtain credit or other services from us. If you do not wish to receive sales or marketing calls or text
messages from us, you should not check the "yes” box for contact preferences. You understand that any messages we send
you may be accessed by anyone with access to your text messages. You also understand that your mobile phone service
provider may charge you fees for text messages that we send you, and you agree that we shall have no liability for the cost of
any such text messages. You agree that any consent provided under this paragraph continues to apply unless and until you
revoke this consent. See the SMS Statement Notifications Disclosure section for more details.

MAXLEND SMS STATEMENT NOTIFICATIONS DISCLOSURE: This SMS Statement Notifications Disclosure (this “Disclosure")
applies to each account you have with MaxLend for which you have elected to receive Short Message Service ("SMS")
messages,

As used in this SMS Statement Notifications Disclosure, "SMS Statement Notifications” means any SMS (text message)
communications from MaxLend to you, sent to the phone number(s) designated by you or as listed on your application,
including but not limited to payment information, account information, due dates, delinquent accounts, program updates,
promotions, coupons and other marketing messages. These messages will originate from 91505, 1-855-997-6613, 1-855-997-
7525, 1-855-929-0646, 1-855-997-6718, 1-855-982-1359, 1-855-981-7276, 1-855-981-9422, 1-855-980-5715, 1-855-997-
6709, or 1-855-997-6930.

How to Unsubscribe: You may withdraw your consent to receive SMS Statement Notifications by changing your account
preferences after logging in at www.maxend.com, Alternatively, you may call us at (877) 936 - 4336. At our option, we may
treat your provision of an invalid mobile phone number, or the subsequent maifunction of a previously valid mobile phone
number, as a withdrawal of your consent to receive SMS Statement Notifications. We will not impose any fee to process the
withdrawal of your consent to receive SMS Statement Notifications. Any withdrawal of your consent to use SMS Statement
Notifications will be effective only after we have a reasonable period of time to process your withdrawal. Neither your carrier or
MaxLend is liable for delayed or undelivered messages.

1. You may also opt-out and remove your SMS approval for additional messages by sending "STOP", "END", "CANCEL",
“UNSUBSCRIBE", "REMOVE", "QUIT", or "STOPALL" to the SMS text message you have received. If you remove your
SMS approval from our database, your number will no longer be used for secondary purposes, disclosed to third parties
and used by us for third parties to send promotional correspondence to you.

2. To apply for our product, use any or our (or our servicers’ or agents’) services (including but not limited to receiving any
SMS Statement Notifications), or our website, you must be at least eighteen (18) years of age.

3. To request additional information, contact us by telephone at (877) 936 - 4336. For help of additional information
regarding our texting services email us at info@mawxlend.com or reply "HELP" anytime from your mobile device to the
message you receive.

4. The services are available on the following carriers: AT&T, Verizon Wireless, T-Mobile, Sprint, Nextel, Dobson, U.S.
Cellular, and Virgin Mobile. Additional carriers are added as they become available.

5. In order to access, view, and retain SMS Statement Notifications that we make available to you, you must have: (1) an
SMS-capable mobile phone, (2) an active mobile phone account with a communication service provider; and (3) sufficient
storage capacity on your mobile phone.

6. All SMS Statement Notifications in electronic format from us to you will be considered "in writing."

7. There is no service fee for SMS Statement Notifications but you are responsible for any and all charges, including but
not limited to fees associated with text messaging, imposed by your communications service provider. Other charges may
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apply. Such charges may include those from your communications service provider. Please consult your mobile service
carrier's pricing plan to determine the charges for sending and receiving text messages. These charges will appear on
your phone bill.

8. Additionally, you agree that we may send any SMS Statement Notifications through your communication service provider
in order to deliver them to you and that your communication services provider is acting as your agent in this capacity.
You further acknowedge and agree that we (or our servicers or agents) will use a third-party platform provider to deliver
such SMS Statement Notifications and that such third-party platform provider is acting as our (or our servicers or agents)
in this capacity. You agree to provide a valid mobile phone number for these services that belongs to you and not
someone else so that we may send you certain information about your loan and to provide us with notice as set forth
above if you are no longer the primary user of the number provided. Additionally, you agree to indemnify, defend and
hold us harmless from and against any and all claims, losses, liability, cost and expenses (including reasonable
attorneys’ fees) arising from your provision of a mobile phone number that is not your own or your violation of applicable
federal, state, Tribal or local law, regulation or ordinance. Your obligation under this paragraph shall survive termination
of this Agreement. SMS Statement Notifications are provided for your convenience only. Receipt of each SMS Statement
may be delayed or impacted by factor(s) pertaining to your communications service provider(s). We will not be liable for
losses or damages arising from any disclosure of account information to third parties, non-delivery, delayed delivery,
misdirected delivery or mishandling of, or inaccurate content in, the SMS Statement Notifications sent by us.

9. We may modify or terminate SMS from time to time, for any reason, and without notice, including the right to terminate
text messaging with or without notice, without liability to you, any other user or a third party. We reserve the right to
modify these Terms of Use from time to time without notice. Please review these Terms of Use from time to time so that
you are timely notified of any changes.

10. IF you are opting into SMS messaging through your account preferences page:

1. You agree that we will not be obligated to provide any communication to you in paper form unless you specifically
request us to do so. You may obtain a copy of any communication by contacting us at info@maxlend.com or by
calling us at (877) 936 - 4336. We will provide you with paper copies at no charge.

2. If your e-mail address, telephone number(s), or residence address changes, you must send us a notice of the new
e-mail address/telephone number(s) by writing to us or sending us an e-mail, using secure messaging, at least five

(5) days before the change to info@maxiend.com.

PRIVACY POLICY

This MaxLend privacy policy (the "Privacy Policy") is intended to inform you of our policies and practices regarding the
collection, use and disclosure of any information you submit to us through maxlend.com. This includes "Personal Information,”
which is information about you that is personally identifiable such as your name, e-mail address, full content of your e-mail,
user ID number, and other non-public information that is associated with the foregoing.

User Consent
By accessing or otherwise using maxlend.com, you agree to this Privacy Policy and expressly consent to the processing of your
Personal information in accordance with this Privacy Policy.

Your Personal Information may be processed by us in the country where it was collected as well as other countries (including
the United States) where laws regarding processing of Personal Information may be less stringent than the laws in your
country.

 

F ACTSWHAT DOES MaxLend DO WITH YOUR PERSONAL INFORMATION?

 

Why? iFinancial companies choose how they share your personal information. Federal law gives consumers the right to limit
isome but not all sharing. Federal law also requires us to tell you how we collect, share, and protect your personal
information. Please read this notice carefully to understand what we do.

 

What? [The types of personal information we collect and share depend on the product or service you have with us. In general,
we collect Personal Information that you submit to us voluntarily through maxlend.com but we may also request optional
information to support your use of maxend.com, This information can include but is not limited to the following:

¢ Social Security number and checking account information

* account balances and income

¢ payment history and credit history

« text messages and information contained in those messages

 

How? |All financial companies need to share customers’ personal information to run their everyday business. In the section
below, we list reasons financial companies can share their customers’ personal information; the reason MaxLend
ichooses to share; and whether you can limit this sharing.

 

 

Does Can you limit

Reasons we can share your personal information MaxLend this sharing?
hare?

 

 

 

 
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For our everyday business purposes - such as to process your transactions, maintain your Yes No
laccount(s), respond to court orders and legal investigations, or report to credit bureaus

 

For our marketing purposes - to offer our products and services to you, both during and after the Yes No
administration of your account(s)

 

 

 

 

 

 

 

 

For joint marketing with other financial companies Yes No
For our affiliates' everyday business purposes - information about your transactions and Yes No
experiences

For our affiliates' everyday business purposes - information about your creditworthiness Yes Yes
For our affiliates to market to you Yes Yes
For nonaffiliates to market to you Yes Yes
To limit ¢ Call (877) 936 - 4336 - our menu will prompt you through your choice(s) or

our « Visit us on the web at www.maxlend.com

sharing Please note:

If you are a new customer, we can begin sharing your information subject to your ability to opt-out 30 days from the
date you sent this notice. When you are no longer our customer, we continue to share your information as
described in this notice. However, you can contact us at any time to limit our sharing.

 

Questions? Call (877) 936 - 4336 or go to www.maxiend.com

 

 

Who we are

 

Who is [Maxtene is providing this privacy policy and it applies to all loans made by the company and all products and
providing ervices offered in connection with such loans.
this notice?

 

What we do

 

How does {To protect your personal information from unauthorized access and use, we use security measures that comply
IMaxLend with federal law. These measures include computer safeguards and secured files and buildings. Even though we
protect my [have taken significant steps to protect your Personal Information, no company, including us, can fully eliminate
personal security risks associated with Personal information.

information?

 

 

 

 
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How does We collect your personal information, for example, when you

MaxLend
e Apply for a loan
collect my . : . .
ersonal e Give us your income information
P . ¢ Tell us where to send the money
information?

e Provide account information
« Provide employment information
« Provide feedback

Personal Information from Other Sources

We also collect your personal information from others, such as credit bureaus, affiliates, companies who we have
partnered with (collectively, "Partners") or other companies. We may associate this information with the other
Personal Information we have collected about you.

Information Collected Via Technology

 

As you use MaxLend, certain information may also be passively collected from your browser and other locations
nd stored on our or our service providers' server logs, including your Internet protocol address, browser type,
nd operating system. We also use Cookies and navigational data like Uniform Resource Locators (URL) to
ather information regarding the date and time of your visit and the solutions and information for which you

searched and viewed, or on which of the advertisements displayed on MaxLend you clicked. This type of

information is collected to make MaxLend and solutions more useful to you and to tailor the experience with

MaxLend to meet your special interests and needs.

We or our service providers, may track your IP Address when you access MaxLend to assist with ad targeting.

We may use both session Cookies (which expire once you close your web browser) and persistent Cookies (which
stay on your computer until you delete them) to provide you with a more personal and interactive experience with
MaxLend. In order to use our services offered through MaxLend, your web browser must accept Cookies. If you
choose to disable Cookies, some aspects of MaxLend may not work properly, and you may not be able to receive
lour services.

We may share your content preferences and other information with the social network from which you have
connected to MaxLend, along with those companies and persons you have asked us to share your information
with.

Additionally, if you provide feedback to us, we may use and disclose such feedback for any purpose, provided we
ida not associate such feedback with your Personal Information. We will collect any information contained in such
feedback and will treat the Personal Information in it in accordance with this Privacy Policy. You agree that any
such comments we receive becomes our property. We may use feedback for marketing purposes or to add to or
modify our services without paying any royalties or other compensation to you

 

hy can't! iFederal jaw gives you the right to limit only
limit alt

sharing? * sharing for affiliates’ everyday business purposes - information about your creditworthiness

¢ affiliates from using your information to market to you
e sharing for nonaffiliates to market to you

 

hat Your choices will apply to everyone on your account.
happens
When | limit
sharing for
lan account |
hold jointly
with
lsomeone
else?

 

 

Definitions

 

Affiliates Companies related by common ownership or control.

Our affiliates include financial companies such as other lenders and non-financial companies such as
marketing and servicing companies.

 

Nonaffiliates Companies not related by common ownership or control. They can be financial and nonfinancial companies.

e Nonaffiliates we share with can include other lenders and direct marketing companies.

 

Cookies ‘Small pieces of information that a website sends to your computer's hard drive while you are viewing a website.

 

 

 

 
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Internet VA number that is automatically assigned to your computer when you use the Internet. In some cases, your IP
Protocol Address stays the same from browser session to browser session; but if you use a consumer internet access
Address or "IP_ jprovider your IP Address probably varies from session to session.

Address”

 

Joint marketing |A formal agreement between nonaffiliated financial companies that together market financial products or
services to you.

e Our joint marketing partners can include institutions such as other lenders or marketers .

 

 

Other:

\We may provide your Personal Information to third-party service providers who work on behaif of or with us to provide some of
the services and features of MaxLend and to help us communicate with you. We require our third-party service providers to
promise not to use such information except as necessary to provide the relevant services to us. If you do not want us to use or
disclose Personal Information collected about you in the manner identified in this Privacy Policy, you should not use MaxLend
lin the event we go through a business transition such as a merger, acquisition by another company, sale of all or a portion of
lassets, or other business transition, your Personal Information may be among the assets transferred. You acknowledge that
such transfers may occur and are permitted by this Privacy Policy, and that any acquirer of ours may continue to process your
Personal Information as set forth in this Privacy Policy.

We may disclose your Personal Information if we believe in good faith that such disclosure is necessary to (a) comply with
relevant laws or to respond to subpoenas or warrants served on us; or (b) to protect and defend our rights or property, you, or
third parties. You hereby consent to us sharing your Personal Information under the circumstances described herein. MaxLend
may contain links to other websites. Please be aware that we are not responsible for the privacy practices or the content of
such other websites. This MaxLend privacy policy applies solely to information collected by us through maxend.com and does
not apply to these third-party websites. The ability to access information of third-parties from MaxLend, or links to other
websites or locations, is for your convenience and does not signify our endorsement of such third-parties, their products, their
services, other websites, locations or their content.

Our third-party platform provider is a third-party beneficiary of our third-party service provider's arbitration, class action, and
jury waiver provisions.

Web browser: You can opt-out of receiving personalized ads by clicking on the blue icon that typically appears in the corner of
the ads we serve and by following the instructions provided by clicking [HERE]. You can opt-out of receiving personalized push
notifications by going into your browser and unchecking applications or extensions from which you do not wish to receive
notifications, Please note that this "opt-out" function is browser-specific and relies on an “opt-out cookie”, thus, if you delete
your cookies or upgrade your browser after having opted out, you will need to opt-out again. If you use a Safari browser,
please also see directions regarding our cookie-less technology opt-out below.

Mobile Device Opt-Out: To opt-out of receiving targeted ads that are based on your behavior across different mobile
lap plications follow the instructions below for iOS and Android devices:

iOS 7 or Higher: Go to your Settings> Select Advertising> Enable the "Limit Ad Tracking” setting; and
For Android devices with OS 2.2 or higher and Google Play Services version 4.0 or higher: Open your Google
Settings App> Select Ads> Enable "Opt-out of interest-based advertising”.

industry Opt-Out Tools and Self-Regulation: You may use the NAI opt-out tool [HERE] which will allow you to opt-out of seeing
personalized ads from us and form other NAl approved member campanies.

 

 

 

IMPORTANT NOTICE: THIS LOAN IS NOT INTENDED TO MEET LONG-TERM FINANCIAL NEEDS. THIS LOAN SHOULD BE
USED ONLY TO MEET SHORT-TERM CASH NEEDS. RENEWING THE LOAN RATHER THAN PAYING THE DEBT IN FULL
WHEN DUE WILL REQUIRE PAYMENT OF ADDITIONAL FINANCE CHARGES.

IMPORTANT ACKNOWLEDGEMENTS:

YOU AGREE AND ACKNOWLEDGE THAT YOU ARE WAIVING YOUR RIGHT TO INITIATE OR PARTICIPATE IN A CLASS
ACTION RELATED TO OR ARISING OUT OF OUR SERVICES, THE SERVICES OF OUR SERVICERS OR AGENTS, AND/OR
THIS AGREEMENT.

BY CLICKING THE ACKNOWLEDGMENT BUTTON BELOW:

e« YOU ARE ELECTRONICALLY SIGNING THIS AGREEMENT.

e¢ YOU AGREE THAT THIS ELECTRONIC SIGNATURE HAS THE FULL FORCE AND EFFECT OF YOUR PHYSICAL
SIGNATURE AND THAT [T BINDS YOU TO THIS AGREEMENT IN THE SAME MANNER A PHYSICAL SIGNATURE
WOULD. YOU CERTIFY THAT THE INFORMATION GIVEN IN CONNECTION WITH THIS AGREEMENT IS TRUE AND
CORRECT.

* YOU AUTHORIZE MAXLEND TO VERIFY THE INFORMATION GIVEN IN CONNECTION WITH THIS AGREEMENT AND
GIVE MAXLEND CONSENT TO OBTAIN INFORMATION ON YOU FROM CONSUMER REPORTING AGENCIES OR
OTHER SOURCES AND SERVICES.
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* YOU ACKNOWLEDGE THAT: (A) YOU HAVE READ, UNDERSTAND, AND AGREE TO ALL OF THE TERMS AND
CONDITIONS OF THIS AGREEMENT INCLUDING THE JURY TRIAL WAIVER AND PROCEDURE PROVISION AS WELL
AS THE PRIVACY NOTICE, (B) THIS AGREEMENT WAS FILLED IN BEFORE YOU SIGNED IT, AND (C) THAT YOU HAVE
PRINTED OR DOWNLOADED A COMPLETED COPY OF THIS AGREEMENT FOR YOUR RECORDS. YOU FURTHER
ACKNOWLEDGE THAT THIS AGREEMENT IS SUBJECT TO APPROVAL BY MAXLEND.

Lender: Makes Cents, Inc. d/b/a MaxLend

Borrower:

Lauren Combs
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EXHIBIT B
Case: 3:22-cv-50006 Document #: 1-1 Filed: 01/06/22 Page 19 of 26 PagelD #:40
12/2/21, 1:10 PM Alternative Payday & Short-Term Installment Loans - Loans Up To $3,000 |MaxLend

ese
smal
er

4 MAXLEND (INDEX.ASPX) (TEL:1/877-936-4336)  (LOGINASPX) [|

Installment Loans - An Alternative Solution to Payday
Loans

$600.00 |

Apply Now!

 

 

 

Deposit up to $3,000 into your bank account as soon as today”.

TO APPLY BY PHONE CALL
877-936-4336 (TEL:+18772513124) ANYTIME, 24-7.

MAXLEND PREFERRED REWARDS

Reward yourself with more money, more savings and more time. Learn more today.

(preferred)

 

Learn More (preferred)

https:/Awww.maxlend.com 1/5
Case: 3:22-cv-50006 Document #: 1-1 Filed: 01/06/22 Page 20 of 26 PagelD #:41
12/2/21, 1:10 PM Alternative Payday & Short-Term Installment Loans - Loans Up To $3,000 |MaxLend

Questions? Call 1-877-936-4336 817-83 :+1-877-936-4336)
= MAXLEND (INDEX.ASPX) (TELi877-936-4336) (LOGIN.ASPX) [| |
Apply Now! (application.aspx)
Log In

Call us (tel://877-936-4336)

eSign Now!

Have you been approved for a MaxLend loan? If you haven't yet, please log in to electronically sign your loan
documents.

 

| Log In to eSign Now! » |

 

No Credit? No Problem.

In fact, people with bad credit, good credit, and no credit apply for installment loans every day. Find out if MaxLend
is the right fit for your needs!

 

| How It Works » (howitworks.aspx) |

 

Returning Customers

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12/2/21, 1:10 PM Alternative Payday & Short-Term Installment Loans - Loans Up To $3,000 |MaxLend

Check out your status with MaxLend Preferred Rewards. Earn access to more money, more savings and mor
2SimeM A XL E ND (INDEX.ASPX) (TEL://877-936-4336) | (LOGIN.ASPX) [|

 

Login To Check Your Status »

 

 

When you need emergency funds, MaxLend is an alternative option to borrowing from payday loan lenders.
Installment loans are different than payday loans - while payday loans require you to pay back your loan amount in full
on your next payday, instead you'll pay back your loan over installments. Additionally, applying for a loan from
MaxLend is just as easy as the typical payday loan application process - fill out our forms online and we'll verify your
information over the phone. You can be approved for a loan amount up to $3,000, which we can deliver to your bank
account as soon as today*. Learn more about why MaxLend loans are the alternative payday loan solution!

Availability and Restriction

You must be 18 years or older to apply. Uetsa Tsakits, Inc. d/b/a "MaxLend" ("Tribe") is a lender. There is no cost to
use this website. Not all applicants will be eligible for a $3,000 loan or even any loan at ail. Qualifying for final
approval of a cash loan depends on various factors, including income and the state in which you reside. MaxLend
does not extend loans to Active Duty Military, their spouses or their dependents. Your supplied information may be
verified with any number of independent verification and/or credit reporting companies. The Tribe has elected not to
conduct business in the following states: Arkansas, Connecticut, Georgia, Massachusetts, Minnesota, New York,
North Dakota, Pennsylvania, Vermont, Virginia, Washington, or West Virginia. The availability of installment loans in
any state is subject to change at any time and at the sole discretion of the Tribe.

Interest (Annual Percentage Rate) APRs.
APR’s range from 471.7846% to 841.4532% depending on the duration of the loan and the loan origination fees.

Implications of Non-Payment, Late Payments, or Partial Payments

By agreeing to the terms of the loan, you are agreeing to pay back the loan and pay the principal and various loan
fees included in the contract. Failure to pay back your loan according to the terms of your contract will result in
additional fees and penalties. All non - payment fees and other potential fees will be set forth in the Loan Agreement,
and you should refer to the Loan Agreement regarding specific non-payment fees.

MaxLend offers Installment Loans with a schedule of set payments. Loans may be paid in full at any time without
penalty. Additional partial payments toward principal also may be made on any scheduled payment date. Paying off
your loan faster than scheduled may reduce your overall cost of credit.

Credit Report, Credit Score and Impact

Uetsa Tsakits, Inc. d/b/a "MaxLend" is a lender and evaluates your information to determine if you qualify for a loan.
Lenders that review your information often use 3rd party credit reporting agencies to evaluate your information and
determine whether to offer you a loan. Typically, lenders in this industry do not order credit reports from Experian,
Transunion or Equifax, instead relying upon other credit information repositories. As a result, your credit report may or
may not be impacted based on the particular service used by the lender. We encourage you to monitor your credit
from various credit monitoring services to evaluate your credit score. You should avoid completing multiple
applications on multiple websites to minimize the impact to your credit score.

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Case: 3:22-cv-50006 Document #: 1-1 Filed: 01/06/22 Page 22 of 26 PagelD #:43
42/2/21, 1:10 PM Alternative Payday & Short-Term Installment Loans - Loans Up To $3,000 |MaxLend

Important Information about Your Lender
Fie orlobrage Fedor dite eaePrnd use of instdlhbehiMbaad a9 ¥en4338) loan HARANASEH i |

consideration. of the casts involved. Review. vour loan documents carefully before you agree to the terms.of.the.loan. .....
This site is owned and operated by the Mandan, Hidatsa, and Arikara Nation — the Three Affiliated Tribes of the Fort
Berthold Reservation. Our management team has over 20 years of experience in online lending and we are members
of the Online Lenders Alliance (OLA) which supports the review and establishment of best practice standards in this
industry. We can be reached by email at CustomerService@MaxLend.com (mailto:customerservice@maxlend.com)

or you can call our loan center at 877.936.4336.

OLA members adhere to the OLA Responsible Lending Policy. OLA’s consumer hotline: 1-866-299-7585.

*Same Day Funding is available on business days where pre-approval, eSignature of the loan agreement and completion of the confirmation
call, if a call is required, have occurred by 11:45 a.m. Eastern Time and a customer elects ACH as payment method. Other restrictions may
apply. Certain financial institutions do not support same day funded transactions. When Same Day Funding is not available, funding will occur

the next business day.

MaxLend, is a sovereign enterprise, an economic development arm and instrumentality of, and wholly-owned and controlled by, the Mandan,
Hidatsa, and Arikara Nation, a federally-recognized sovereign American Indian Tribe. (the “Tribe”). This means that MaxLend’s loan products
are provided by a sovereign government and the proceeds of our business fund governmental services for Tribe citizens. This also means that
MaxLend is not subject to suit or service of process. Rather, MaxLend is regulated by the Tribe. If you do business with MaxLend, your
potential forums for dispute resolution will be limited to those available under Tribal law and your loan agreement. As more specifically set forth
in MaxLend’s contracts, these forums include an informal but affordable and efficient Tribal dispute resolution, or individual arbitration before a
neutral arbitrator. Otherwise, MaxLend is not subject to suit or service of process. Neither MaxLend nor the Tribe has waived its sovereign
immunity in connection with any claims relative to use of this website. If you are not comfortable doing business with sovereign instrumentality

that cannot be sued in court, you should discontinue use of this website.

 

HOME (INDEX.ASPX)

       

HOW IT WORKS (HOWITWORKS.ASPX)

 

FAQ (FAQ.ASPX)

 

 

PREFERRED (PREFERRED)

 

 

 

 

   

 

PRIVACY (PRIVACY.ASPX)

      

 

 

 

MAXLEND MONEY BLOG (HTTPS://BLOG.MAXLEND.COM)

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EXHIBIT C
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Maxlend.com domain name registration records from 2010

Domain: maxlend.com

Record Date: 2010-03-11

Registrar: MELBOURNE IT, LTD. D/B/A INTERNET NAMES WORLDWIDE
Server: whois,melbourneit.com

Created: 2605-04-08

Updated: 2806-10-16

Expires: 2016-84-08

Record:

Domain Name.......... maxlend.com
Creation Date........ 2005-04-68
Registration Date.... 2005-04-68
Expiry Date.......... 2010-04-08
Organisation Name.... r
Organisation Address. r
Organisation Address.
Organisation Address. r
Organisation Address. r
Organisation Address. r
Organisation Address. VIRGIN ISLANDS (U.S.)

Admin Name......e.62. Per
Admin Address........ r
Admin Address........
Admin Address........ Pr
Admin Address........ 97
Admin Address,........ 7
Admin Address........ UNITED STATES
Admin Email.......... simax89@yahoo.com
Admin Phone......+... #1.9875465454
Admin Fax....eeseceee

Tech Name............ YahooDomains TechContact
Tech Address......+.. 701 First Ave.
Tech Address.........
Tech Address......... Sunnyvale
Tech Address......... 94089
Tech Address......... CA
Tech Address......... UNITED STATES
Tech Email........... domain. tech@YAHOO-INC.COM
Tech Phone........+-- +4.4089162124
TECH Fax.scccsccceecs
Name Server,....eee--
Name Server..........
Case: 3:22-cv-50006 Document #: 1-1 Filed: 01/06/22 Page 25 of 26 PagelD #:46

EXHIBIT D
Case: 3:22-cv-50006 Document #: 1-1 Filed: 01/06/22 Page 26 of 26 PageID #:47

MaxLend’s website from 2013

TRARONIS MaxLend | MAXimize Your Resources

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. | Call Now! 877-936-4336
How It Works

MAXimize your resources

Just because you're short on funds
doesn't mean you're short on options.

MAXLEND can deliver up to $1,250 to your
bank account as soon as tomorrow!

Bookmark our site as your trusted financial resource —
we are rolling our services out soon.

Fast. Easy. Reliable.

You need an immediate solution, and MAXLEND is ready to help. Our secure online form is simple and takes
just minutes to complete. Once approved, we can fund you as soon as 24 hours!

Common Questions »

No Credit?
No Problem.

In fact, people with bad credit, good credit, and no credit apply for short term loans every day. All U.S, citizens
over the age of 18 with a steady source of income and a checking account are eligible to apply!

How It Works »
Get the MAX VIP Advantage

We value your business! If you need our services again, we treat you like a VIP with lower fees and higher loan
amounts. Call us to learn more or Log In to your account (coming soon!) to see if you're eligible.

Coming Soon! »

 

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Belize City, Belize CA.
All rights Reserved

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